                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CRIMINAL CASE NO. 5:05CR207


UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )                       ORDER
                                       )
MARCUS L. CHAMBERLAIN,                 )
                                       )
            Defendant.                 )
______________________________________ )

       THIS MATTER IS BEFORE THE COURT on the “Government’s Motion to Find

Defendant Chamberlain in Breach of Plea Agreement” (Document No. 108), filed September 20,

2006. This motion was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1)(B), and is now ripe for the Court’s consideration.

       Having carefully considered the record, the parties briefs and oral arguments, and for the

reasons stated in open court, the undersigned will deny the government’s motion.

       IT IS, THEREFORE, ORDERED the “Government’s Motion to Find ... Breach of Plea

Agreement” is DENIED.



                                                Signed: November 16, 2006




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